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(212) 373-3191

(212) 492-0191

mflumenbaum@paulweiss.com




       March 3, 2021

       Via Email and ECF

       The Honorable Analisa Torres
       United States District Court
       Southern District of New York
       500 Pearl St.
       New York, NY 10007-1312

                      Re: SEC v. Ripple Labs, Inc. et al., No. 20-cv-10832 (AT) (S.D.N.Y.)

       Dear Judge Torres:

                      We represent defendant Christian A. Larsen in the above-referenced action. As
       required by Your Honor’s Individual Rules, Mr. Larsen identified defects in the SEC’s original
       Complaint in a January 27, 2021 private letter to the SEC. The SEC attempted to remedy those
       defects by amending its Complaint; those attempts were inadequate. The Amended Complaint
       (ECF No. 46) still fails to state a claim against Mr. Larsen. We write pursuant to Your Honor’s
       Individual Rules to inform the Court of the grounds for Mr. Larsen’s motion to dismiss. Mr.
       Larsen joins in the arguments set forth in Mr. Garlinghouse’s letter and also sets forth the specific
       grounds for his motion below:

         I.      The SEC Has Failed to Plausibly Allege that Mr. Larsen Had the Requisite State of
                 Mind for Aiding and Abetting Under Section 15(b) of the Securities Act.

                       The central claim in the SEC’s Amended Complaint is that the Defendants’
       transactions in XRP—a digital asset used to make more efficient payments and money transfers—
       are or have been “investment contracts” and therefore securities pursuant to Section 5 of the
       Securities Act of 1933 since at least 2013. Defendants believe that the SEC will be unable to
       demonstrate that transactions in XRP constitute securities because, among other reasons, they
       possess none of the attributes of “investment contracts” pursuant to SEC v. W.J. Howey Co., 328
       U.S. 293 (1946). But the Court will never have to reach that question for Mr. Larsen because the
       SEC—in a significant departure from its own precedent—has heightened its own burden in this
       case by charging Mr. Larsen with aiding and abetting Ripple’s alleged violations of Section 5. The
       Amended Complaint simply cannot support that claim, and it should therefore be dismissed.
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                In order to state a claim against Mr. Larsen for aiding and abetting a violation of
Section 5, the SEC must allege that Mr. Larsen “knowingly or recklessly provide[d] substantial
assistance to another person in violation of [Section 5].” 15 U.S.C. § 77o(b). In order to do so,
the SEC must allege that Mr. Larsen had a culpable state of mind—that he both knew or was
reckless as to XRP transactions being “investment contracts” and that Ripple’s activities were
“improper.” See SEC v. Espuelas, 905 F. Supp. 2d 507, 518 & n.5 (S.D.N.Y. 2012). Thus, at a
minimum, the SEC must allege that it was “so obvious” that XRP transactions were securities and
Ripple’s conduct was improper that Mr. Larsen “must have been aware of it.” In re BISYS Sec.
Litig., 397 F. Supp. 2d 430, 441 (S.D.N.Y. 2005). The SEC’s own allegations are not only
deficient, but affirmatively show it cannot meet this standard.

               First, the Amended Complaint concedes that in 2015, while Mr. Larsen was CEO
of Ripple, the Department of Justice (“DOJ”) and FinCEN took the position that XRP was a
currency. Specifically, as part of a 2015 settlement with Ripple, both agencies publicly concluded
that XRP was a “virtual currency.” (AC ¶¶ 379–80.) 1 Both the DOJ and FinCEN subsequently
regulated XRP as a virtual currency. DOJ and FinCEN’s classification of XRP as a currency was,
and is, fundamentally incompatible with it being a security. See 15 U.S.C. § 78c(a)(10).

                Second, even though the existence of XRP and Ripple’s activities were publicly
known throughout the entire eight years addressed in the Amended Complaint, the SEC never once
publicly stated or even suggested that XRP transactions were securities. In fact, the SEC waited
until July 2017 to issue any guidance on when any digital assets might be considered a security.
(See AC ¶ 37.) And the SEC itself has described Ripple as a “digital currency company.” Matter
of Mellon, Exchange Act Release No. 78924, 2016 WL 5340192 (Sept. 23, 2016). Moreover, the
SEC declared that bitcoin and ether—two similar digital assets—are not securities, further
undermining any claim that Mr. Larsen possessed the requisite knowledge or recklessness. As the
Supreme Court has acknowledged, when “statutory text and relevant court and agency guidance
allow for more than one reasonable interpretation . . . a defendant who merely adopts one such
interpretation” does not possess knowledge or recklessness. Safeco Ins. Co. Am. v. Burr, 551 U.S.
47, 70 n.20 (2007).

              Third, the SEC relies in its Amended Complaint on non-privileged legal
memoranda that Mr. Larsen received before Ripple was operational to suggest that Mr. Larsen
knew or was reckless as to whether XRP was a security. (See, e.g., AC ¶¶ 51-55.) As the Court
will see when it reviews the memoranda itself,2 the memoranda are in fact consistent with
subsequent events in that they concluded that it was very likely that XRP transactions were not
securities.



1   The SEC’s First Amended Complaint (ECF No. 46) is cited herein as “AC.”
2   Because the Amended Complaint “relies heavily upon [the] terms and effect” of the legal memoranda (see
    AC ¶¶ 51–55, 59, 313, 395–97), they may be considered on a motion to dismiss. See Chambers v. Time
    Warner, Inc., 282 F.3d 147, 153 (2d Cir. 2002).
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                In the face of these undisputed facts, which affirmatively establish the absence of
knowledge or recklessness, the SEC offers only conclusory and legally insufficient allegations that
Mr. Larsen knew or recklessly disregarded that Ripple’s conduct was in any way improper. There
are no allegations, for example, that Mr. Larsen attempted to conceal anything about his
involvement in Ripple’s conduct, or that it was so obvious, based on facts available to Mr. Larsen,
that XRP transactions constituted “investment contracts.” The Amended Complaint merely
alleges that Mr. Larsen knew or recklessly disregarded that “investors were using money to
purchase XRP and that Ripple was pooling that capital to fund its efforts to create profits for Ripple
and XRP purchasers” (AC ¶ 90; see also id. ¶ 293), and that “XRP purchasers had a reasonable
expectation of deriving profits by buying and selling XRP on these digital asset trading platforms”
(id. ¶ 169; see also id. ¶ 242). But these conclusory and disparate allegations, even if true, would
not put anyone on notice that XRP transactions constituted securities.

               Reduced to their essence, the SEC’s allegations of knowledge or recklessness as to
Mr. Larsen boil down to a claim that he was aware that there was “some risk that XRP would be
considered an ‘investment contract’ . . . depending on various factors” (id. ¶ 53); that he “assume[d]
a risk he knew existed—that the sale of [XRP] could constitute an offering of securities” (id. ¶ 58);
and that he “knew that XRP may be a security” (id. ¶ 395). These allegations fall well short of
pleading facts establishing that the impropriety of Ripple’s conduct was “so obvious” that Mr.
Larsen “must have been aware” of it. In re BISYS Sec. Litig., 397 F. Supp. 2d at 441. Accordingly,
the SEC’s Section 15(b) claim against Mr. Larsen should be dismissed.

 II.   The SEC Fails to Plausibly Allege that Mr. Larsen Provided the Company with
       Substantial Assistance in Carrying Out its Sales of XRP.
                The SEC’s aiding and abetting claim against Mr. Larsen also should be dismissed
because the SEC’s allegations regarding Mr. Larsen’s conduct are inadequate to plead “substantial
assistance,” as they fail to describe how Mr. Larsen “sought by his action to make [Ripple’s sales]
succeed.” SEC v. Apuzzo, 689 F.3d 204, 214 (2d Cir. 2012).

                The SEC alleges that Mr. Larsen, during the period from 2012 to 2016 when he
was CEO, “had final decision-making authority over” decisions related to XRP sales, and approved
or was consulted on various aspects of the sales. (AC ¶ 98; id. ¶¶ 73, 100, 101, 116–18, 205, 207.)
Pleaded at this level of generality, such allegations merely restate that Mr. Larsen fulfilled his role
as CEO, which is inadequate to establish substantial assistance. See SEC v. Rio Tinto plc, No. 17
Civ. 7994 (AT), 2019 WL 1244933, at *18 (S.D.N.Y. Mar. 18, 2019) (Torres, J.) (requiring that
defendant “participate[] in [the violation] as something that he wished to bring about, and that he
sought by his action to make succeed”). The absence of concrete factual allegations is even more
glaring for the period starting in 2017, when Mr. Larsen was only Executive Chairman and had
limited involvement in Ripple’s day-to-day management. The SEC merely alleges that “as
chairman of the Board, Mr. Larsen was consulted on such offers and sales,” and that he
“continue[s] to communicate with potential and actual XRP investors and Ripple equity
shareholders and to participate in certain projects Ripple is pursuing with respect to XRP.” (AC ¶
76 (emphasis added); see also id. ¶¶ 110–13, 138, 140, 160, 168, 199, 224 (discussing involvement
in meetings, “supervising” RippleWorks sales, and obtaining updates on XRP listings).) Such
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threadbare allegations, disconnected from any specific Ripple sales, cannot establish substantial
assistance.

III.   The SEC Fails to Plead a Domestic Transaction under the Supreme Court’s
       Decision in Morrison.

                The SEC also fails to allege that Mr. Larsen’s XRP transactions were domestic and
therefore within its jurisdiction. This deficiency is fatal to the Section 5 claim against Mr. Larsen.
To plead a Section 5 violation, the SEC must adequately allege that each sale occurred within the
territorial reach of Section 5. See Morrison v. Nat’l Austl. Bank Ltd., 561 U.S. 247, 268–70, 273
(2010). Here, the SEC must demonstrate either that the parties “incurred irrevocable liability”
with respect to the transactions at issue, or that title to the security passed, in the United States.
Absolute Activist Value Master Fund Ltd. v. Ficeto, 677 F.3d 60, 67–69 (2d Cir. 2012). The SEC
has the burden of showing this domestic nexus with respect to each contested transaction. See In
re Petrobras Sec., 862 F.3d 250, 272 (2d Cir. 2017) (noting that a plaintiff must prove “the
domesticity of a particular transaction”).

                  Here, despite challenging over $500 million in XRP transactions, the SEC fails to
allege even one that was completed in the United States. The Amended Complaint attempts to
ground Mr. Larsen’s sales of XRP in the U.S. by alleging that he: (i) sold “his XRP to
investors . . . in the United States” (AC ¶ 174); (ii) “directed his offers and sales of XRP from
within the United States,” sometimes to “persons in the United States” (id. ¶¶ 176, 178); and (iii)
made offers or sales that “occurred on” unnamed platforms either incorporated or based in the
United States (id. ¶ 177). But such allegations do not plead facts establishing that the parties
incurred irrevocable liability within the United States. The SEC cannot remedy this deficiency
because, as the Amended Complaint acknowledges, Mr. Larsen’s XRP was offered and sold
through a foreign market maker that sold his XRP “on digital asset trading platforms with
worldwide operations and customers.” (See id. ¶ 174.) And to the extent any part of the
transactions occurred domestically, they still fall outside the SEC’s jurisdiction because they were
“predominantly foreign.” Cavello Bay Reins. Ltd. v. Stein, 986 F.3d 161, 165 (2d Cir. 2021).

IV.    The SEC’s Claims for Monetary Relief Are Time-Barred.

                In an unsuccessful attempt to avoid the dictates of Morrison, the SEC has alleged
that Mr. Larsen’s sales were part of a single “ongoing” Section 5 violation that began in 2013.
(See, e.g., AC ¶¶ 75, 433.) Having attempted to plead a single, ongoing violation, however, the
SEC has conceded that the entirety of its request for monetary penalties and disgorgement against
Mr. Larsen is time barred. It is now well-settled that the five-year limitations period of 28 U.S.C.
§ 2462 applies to any SEC claim for monetary relief, including disgorgement. See Kokesh v. SEC,
137 S. Ct. 1635, 1639 (2017). A claim for a Section 5 violation accrues under § 2462 on the date
when the relevant sale of securities occurs. Because the SEC has alleged that the sales of XRP
over a multi-year period constituted only one offer, which began in 2013, the statute of limitations
began to run in 2013 and expired in 2018. See Sierra Club v. Oklahoma Gas & Electric Co., 816
F.3d 666, 671–75 (10th Cir. 2016). Accordingly, the SEC’s monetary claims against Mr. Larsen
are barred by the five-year statute of limitations and those specific claims should be dismissed.
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                                  Respectfully Submitted,


                                  /s/ Martin Flumenbaum
                                  Martin Flumenbaum


cc:   All Counsel (via ECF)
